Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21                    Entered 03/26/21 16:25:19             Page 1 of 127




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

      IN RE:                                               §
                                                           § CASE NO. 21-30085-hdh-11
      NATIONAL RIFLE ASSOCIATION OF                        §
      AMERICA and SEA GIRT LLC,                            § CHAPTER 11
                                                           §
                    Debtors.1                              § Jointly Administered


       DECLARATION OF MONICA CONNELL IN SUPPORT OF THE STATE OF NEW
       YORK’S MOTION TO PRECLUDE DEBTORS FROM INTRODUCING CERTAIN
        EVIDENCE AND ELICITING CERTAIN TESTIMONY THEY HAVE SHIELDED
       FROM DISCOVERY BASED UPON INAPPROPRIATE PRIVILEGE ASSERTIONS

  I, Monica Connell, pursuant to 28 U.S.C. § 1746, state:

          1.       I am a licensed attorney in good standing of the bar of the Supreme Court, Appellate

  Division, Second Judicial Department of the State of New York. I am authorized pursuant to

  Bankruptcy Rule 9010 to appear in this Court under L.B.R. 2090-1(f) to represent the People of

  the State of New York, by Letitia James, Attorney General of the State of New York, who is a

  party in interest in this proceeding. I am an Assistant Attorney General in the New York State

  Office of the Attorney General (the “NYAG”), a party in interest in the above-referenced

  bankruptcy case. I have participated in the investigation and related legal proceedings involving

  the National Rifle Association of America, Inc. (“NRA”), including this bankruptcy proceeding.

          2.       I submit this declaration in support of the NYAG Motion to Preclude Debtors From

  Introducing Certain Evidence and Eliciting Certain Testimony They Have Shielded from

  Discovery Based Upon Inappropriate Privilege Assertions (the “Motion”). The Motion seeks

  appropriate remedies regarding the improper and overbroad assertion of attorney-client privilege



  1
   The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
  Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.


  DECLARATION OF MONICA CONNELL IN SUPPORT OF THE STATE OF NEW YORK’S MOTION
  TO COMPEL DISCOVERY DUE TO INAPPROPRIATE PRIVILEGE DESIGNATIONS – PAGE 1
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21               Entered 03/26/21 16:25:19     Page 2 of 127




  made by NRA and its wholly-owned shell company Sea Girt LLC (“Sea Girt”) (collectively, the

  “Debtors”).

         1.      In preparation for the hearing beginning next Monday, March 23, 2021, the NYAG

  has vigorously and expeditiously pursued discovery of nonprivileged materials relevant to its

  Motion to Dismiss, or, in the Alternative, To Appoint Chapter 11 Trustee (“Motion to Dismiss”).

         2.      As a part of those discovery efforts, NYAG had obtained the proposed employment

  agreement for NRA Executive Vice President Wayne LaPierre that was presented to the NRA

  Board at a January 7, 2021 Board Meeting. A true and correct copy of the proposed employment

  agreement is attached as Exhibit A to this declaration.

         3.      NYAG has also obtained the amended version of the employment agreement that

  was executed by LaPierre after the Board Meeting on January 7, 2021. A true and correct copy of

  the executed employment agreement is attached as Exhibit B to this declaration.

         4.      On February 15, 2021, Debtors filed in this case an NRA Statement of Financial

  Affairs (SOFA) for Non-Individuals Filing for Bankruptcy, Form 207, Part 6 No 11, Certain

  Payments or Transfers - Payments related to bankruptcy (“NRA Statement”). A true and correct

  copy of the NRA Statement is attached as Exhibit C to this declaration.

         5.      On March 12, 2021, a 341 meeting of creditors occurred regarding this bankruptcy

  proceeding. A true and correct copy of excerpts of the transcript of the 341 meeting that took place

  that day is attached as Exhibit D to this declaration.

         6.      On March 9, 2021, the news outlet Washington Free Beacon (“WFB”) published

  an article regarding the January 7, 2021 NRA Board Meeting that extensively quoted party-in-

  interest Judge Philip Journey (“Judge Journey”), who is an NRA Board Member who attended




  DECLARATION OF MONICA CONNELL IN SUPPORT OF THE STATE OF NEW YORK’S MOTION
  TO COMPEL DISCOVERY DUE TO INAPPROPRIATE PRIVILEGE DESIGNATIONS – PAGE 2
                                                                                            DA 2114713.3
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21             Entered 03/26/21 16:25:19           Page 3 of 127




  the January 7, 2021 meeting. A true and correct copy of the WFB article is attached as Exhibit E

  to this declaration.

          7.      As a part of discovery in this proceeding, and on March 18, 2021, Judge Journey

  was deposed. A true and correct copy of excerpts of the transcript of that deposition is attached as

  Exhibit F to this declaration.

          8.      On March 12, 2021, William W. Davis, counsel to the NRA Board, filed a

  Declaration with this Court in Support of Debtors’ Emergency Motion for Protective Order

  regarding Judge Journey’s deposition. A true and correct copy of the Declaration is attached as

  Exhibit G to this declaration.

          9.      Also as a part of discovery in this proceeding and on March 18, 2021, NRA General

  Counsel John Frazer was deposed. A true and correct copy of excerpts of the transcript of that

  deposition is attached as Exhibit H to this declaration.

          10.     On February 22, 2021, a 341 meeting of creditors occurred regarding this

  bankruptcy proceeding. A true and correct copy of excerpts of the transcript of the 341 meeting

  that took place that day is attached as Exhibit I to this declaration; however, the transcript reflects

  that the meeting of creditors occurred on January 22, 2021 based upon announcement of the

  January 22, 2021 date at the beginning of the meeting.

          11.     NYAG has also obtained the current version of the NRA’s Bylaws, dated October

  2020. A true and correct copy of the Bylaws is attached as Exhibit J to this declaration.

          12.     Also as a part of discovery in this proceeding and on March 18, 2021, NRA General

  Counsel John Frazer was deposed. A true and correct copy of excerpts of the transcript of that

  deposition is attached as Exhibit K to this declaration.

          13. I declare, under penalty of perjury, that the foregoing is true and correct.


  DECLARATION OF MONICA CONNELL IN SUPPORT OF THE STATE OF NEW YORK’S MOTION
  TO COMPEL DISCOVERY DUE TO INAPPROPRIATE PRIVILEGE DESIGNATIONS – PAGE 3
                                                                                               DA 2114713.3
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 4 of 127




  Executed on this day March 26, 2021.


                                         /s/ Monica Connell__________________________
                                         Monica Connell, Esq.




  DECLARATION OF MONICA CONNELL IN SUPPORT OF THE STATE OF NEW YORK’S MOTION
  TO COMPEL DISCOVERY DUE TO INAPPROPRIATE PRIVILEGE DESIGNATIONS – PAGE 4
                                                                             DA 2114713.3
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 5 of 127




                                                                           EXHIBIT A
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 6 of 127




                                                                           EXHIBIT A
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 7 of 127




                                                                           EXHIBIT A
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 8 of 127




                                                                           EXHIBIT A
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 9 of 127




                                                                           EXHIBIT A
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 10 of
                                        127




                                                                           EXHIBIT A
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 11 of
                                        127




                                                                           EXHIBIT A
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 12 of
                                        127




                                                                           EXHIBIT B
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 13 of
                                        127




                                                                           EXHIBIT B
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 14 of
                                        127




                                                                           EXHIBIT B
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 15 of
                                        127




                                                                           EXHIBIT B
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 16 of
                                        127




                                                                           EXHIBIT B
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 17 of
                                        127




                                                                           EXHIBIT B
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 18 of
                                        127




                                                                           EXHIBIT B
                                                                                                                                                                                                                                                                                                                      EXHIBIT C
National Rifle Association of America
Statement of Financial Affairs (SOFA) for Non-Individuals Filing for Bankruptcy
Form 207
Part 6 No 11
Certain Payments or Transfers - Payments related to bankruptcy
                                                                                             This schedule only includes payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing related to the debt consolidation
                                                                                             or restructuring, seeking bankruptcy relief or filing a bankruptcy case. We have not included amounts unrelated to debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy
                                                                                             case herein.
Who was paid or who received the                                                             If not money, describe any
                                                                                                                                                                                                                                                                                                            7
transfer?                                                                                    property transferred               Date of Payment                Amount       Address                                                             Email or website address           Who Paid, if not debtor?
Brewer, Attorneys & Counselors                                                               Not applicable                         10/22/2020           $160,020.00        1717 Main Street, Suite 5900 Dallas, TX 75201                   mjm@brewerattorneys.com
                                                                             of 54




Brewer, Attorneys & Counselors                                                               Not applicable                         11/19/2020           $35,587.50         1717 Main Street, Suite 5900 Dallas, TX 75201                   mjm@brewerattorneys.com
                                                                                of




                               1
                                                                           4819




Brewer, Attorneys & Counselors                                                               Not applicable                          12/3/2020         $500,000.00           1717 Main Street, Suite 5900 Dallas, TX 75201                  mjm@brewerattorneys.com
                                                                                     2
                                                                        Page




Neligan LLP                                                                                  Not applicable                          12/3/2020            $350,000.00        325 North St. Paul Street, # 3600 Dallas, TX 75201             pneligan@neliganlaw.com
                                                              16:25:19Page




Brewer, Attorneys & Counselors                                                               Not applicable                         12/17/2020         $86,859.38            1717 Main Street, Suite 5900 Dallas, TX 75201                  mjm@brewerattorneys.com
                               3, 4
Brewer, Attorneys & Counselors                                                               Not applicable                          1/6/2021          $5,000,000.00         1717 Main Street, Suite 5900 Dallas, TX 75201                  mjm@brewerattorneys.com
Neligan LLP 2                                                                                Not applicable                          1/8/2021             $98,600.00         325 North St. Paul Street, # 3600 Dallas, TX 75201             pneligan@neliganlaw.com
                                                            19:23:25




                                                                                     2
Neligan LLP                                                                                  Not applicable                          1/14/2021            $1,000,000.00      325 North St. Paul Street, # 3600 Dallas, TX 75201             pneligan@neliganlaw.com
Marshall Smith 2,5                                                                           Not applicable                          1/14/2021            $60,000.00         18640 Olinda Trail N Marine on Saint Croix, MN 55047           marschall.smith@gmail.com
                                                     03/26/21




Brewer, Attorneys & Counselors 6                                                             Not applicable                       1/14/2021             $209,741.88      1717 Main Street, Suite 5900 Dallas, TX 75201                      mjm@brewerattorneys.com
                                                   02/15/21




Brewer, Attorneys & Counselors                                                               Not applicable                       1/14/2021         $302,373.75          1717 Main Street, Suite 5900 Dallas, TX 75201                      mjm@brewerattorneys.com
                                                                                         1
                                                                                             On 12/3/2020, the NRA transferred $500,000 to Brewer, Attorneys & Counselors for payment of restructuring related expenses.
                                             Entered




                                                                                         2
                                                                                             This payment was made out of funds transferred to Brewer, Attorneys & Counselors by the NRA for payment of third party expenses.
                                   03/26/21Entered




                                                                                         3
                                                                                             On 1/6/2021, the NRA transferred $5,000,000 to Brewer, Attorneys & Counselors, to be held in trust, for payment of NRA expenses, both restructuring and non-restructuring, including a retainer to Brewer, Attorneys &
                                                                                             Counselors of $2,551,009.57.
                                                                                         4
                                                                                             Post-petition, no portion of the retainer paid to Brewer, Attorneys & Counselors has been or will be withdrawn unless such withdrawal complies with all applicable laws, rules, and court orders.
                                       127




                                                                                         5
                                                                                             Mr. Smith refunded the $60,000 on 2/5/2021. The refunded amount was placed in Brewer, Attorneys & Counselors' trust account for the debtors benefit.
                                02/15/21




                                                                                         6
                                                                                             This payment was made out of funds transferred to Brewer, Attorneys & Counselors by the NRA for pre-bankruptcy services provided by Brewer Attorneys & Counselors.
                                                                                         7
                                                                                           All payments were made from debtors funds. Certain payments were made to Brewer, Attorneys & Counselors with the intent that those funds be transferred to third parties.
                             Filed




                                                                                         * This schedule shows amounts paid by debtors for services provided by Brewer, Attorneys & Counselors prior to the bankruptcy filings that were related to debt consolidation or restructuring, seeking bankruptcy relief,
                          Filed




                                                                                           or filing a bankruptcy case. Those amounts totaled $794,582.50. Debtors also paid $2,551,009.57 to Brewer, Attorneys & Counselors for a retainer for services to be provided after the bankruptcy filings. This schedule
                       417-1




                                                                                           does not include amounts paid to Brewer, Attorneys & Counselors during the 1 year prior to the bankruptcy filings for serviced provided by Brewer, Attorneys & counselors unrelated to debt consolidation or
                   Doc162




                                                                                           restructuring, seeking bankruptcy relief, or filing a bankruptcy case.
     21-30085-hdh11Doc
Case21-30085-hdh11
Case
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 20 of
                                        127
 ·1
 ·2
 ·3
 ·4
 ·5
 ·6
 ·7· · ·-----------------------------------
 ·8· · · · ·TRANSCRIPTION OF AUDIO FILE
 ·9· · 341 MEETINGS OF CREDITORS (CONTINUED)
 10· · · · · · · ·SEA GIRT, LLC
 11· · · · BANKRUPTCY CASE NO. 21-30080
 12· · · · · · · · · · ·AND
 13· ·NATIONAL RIFLE ASSOCIATION OF AMERICA
 14· · · · BANKRUPTCY CASE NO. 21-30085
 15· · · · · · · ·MARCH 12, 2021
 16· · -----------------------------------
 17
 18
 19
 20
 21
 22
 23
 24
 25


                                                              EXHIBIT D
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 21 of
                                        127
 ·1· · · · · · · · MR. BUNCHER:· All right.· Objection, calls
 ·2· for attorney-client communication.· Instruct the
 ·3· witnesses not to re -- to respond.· The question --
 ·4· · · · · · · · THE U.S. TRUSTEE:· (Inaudible) --
 ·5· · · · · · · · MR. BUNCHER:· -- necessarily -- the -- the
 ·6· question necessarily would lead to disclosure of
 ·7· privileged communications.
 ·8· · · · · · · · MR. KATHMAN:· Okay.· And, Mr. Buncher, just
 ·9· to clarify the record, are you instructing the witnesses
 10· not to answer?
 11· · · · · · · · MR. BUNCHER:· I just did.· Yes.
 12· · · · · · · · MR. KATHMAN:· All right.· And are the
 13· witnesses taking the attorney's advice and not answering
 14· the question?
 15· · · · · · · · MR. FRAZER:· I am.
 16· · · · · · · · MR. KATHMAN:· All right.· Mr. Frazer --
 17· · · · · · · · THE U.S. TRUSTEE:· Wait.· Let's go back --
 18· · · · · · · · MR. KATHMAN:· -- you're not going to
 19· take (phonetic) --
 20· · · · · · · · THE U.S. TRUSTEE:· Let's -- let's go back.
 21· Can we reach an agreement that this can be discussed to
 22· the extent it was in the general board meeting and not
 23· in the Executive Session?
 24· · · · · · · · MR. BUNCHER:· Well --
 25· · · · · · · · MR. KATHMAN:· Yeah.· My question was,


                                                              EXHIBIT D
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 22 of
                                        127
 ·1· actually, more specific.· It just said, Were the words
 ·2· "bankruptcy" or "Chapter 11" ever said during the
 ·3· January 7th board meeting, including the Executive
 ·4· Session.· So I can break that up, if you would like,
 ·5· Lisa.
 ·6· · · · · · · · THE U.S. TRUSTEE:· Yes --
 ·7· · · · · · · · MR. BUNCHER:· I think --
 ·8· · · · · · · · THE U.S. TRUSTEE:· -- I think you should.
 ·9· · · · · · · · MR. BUNCHER:· I think you are going to
 10· get -- need to get more specific so that it's clear on
 11· the record.
 12· · · · · · · · MR. KATHMAN:· Okay.· I -- I'll -- I'll --
 13· I'll ask more specific.
 14· · · · · · · · Were the words "bankruptcy" or "Chapter 11"
 15· ever said during the January 7 -- during the January 7th
 16· board meeting outside of the Executive Session?
 17· · · · · · · · MR. BUNCHER:· Okay.· Object to the
 18· question, to the extent answering it would reveal
 19· communications by counsel or with counsel.
 20· · · · · · · · But if there -- if you can answer the
 21· question as to whether any discussion of those topics
 22· occurred, other than with counsel at the meeting, you
 23· can answer that part of the question.
 24· · · · · · · · MR. FRAZER:· Well, counsel -- well, several
 25· counsel were present throughout the meeting.· But I


                                                              EXHIBIT D
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 23 of
                                        127
 ·1· think I can say that I don't re -- and -- and -- and,
 ·2· you know, I haven't gone back and looked for this in the
 ·3· transcripts, but I -- I do not recall those words being
 ·4· used in any of the -- in any of the open sessions of the
 ·5· meetings.
 ·6· · · · · · · · MR. KATHMAN:· And, Mr. Frazer, I want to
 ·7· ask you about that.· You said "transcripts."· Are there
 ·8· actual transcripts of the meeting that occurred?
 ·9· · · · · · · · MR. FRAZER:· For the open sessions, yes.
 10· · · · · · · · MR. KATHMAN:· Okay.· I'd request a copy
 11· of those transcripts.· I suspect there may be a few
 12· other people that may want those.· Now, let me ask a
 13· second question:· Were the words "bankruptcy" or
 14· "Chapter 11" -- were the words "bankruptcy" or
 15· "Chapter 11" ever said during -- in the Executive
 16· Session of the January 7th board meeting?
 17· · · · · · · · MR. BUNCHER:· All right.· And -- and I'm
 18· going to object that that, necessarily, calls for
 19· disclosure of attorney-client communications.· Because,
 20· as you have already established on the record, Counsel
 21· for the Board and the company was in both Executive
 22· Sessions, at which resolutions regarding Mr. LaPierre's
 23· employment contract and the authority of the SLC were
 24· discussed.
 25· · · · · · · · So, Mr. Frazer, I instruct you not to


                                                              EXHIBIT D
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 24 of
                                        127
 ·1· answer the question if it would reveal attorney-client
 ·2· communication.
 ·3· · · · · · · · MR. KATHMAN:· And, Mr. Frazer, are you
 ·4· taking your attorney's -- or the -- the company's
 ·5· attorney's advice not to answer the question?
 ·6· · · · · · · · MR. FRAZER:· Well, let me ask you, can you
 ·7· restate the question?
 ·8· · · · · · · · MR. KATHMAN:· Sure.· The question is:· Were
 ·9· the words "bankruptcy" or "Chapter 11" ever said during
 10· any part -- or during any Executive Session of the
 11· January 7th board meeting?
 12· · · · · · · · MR. BUNCHER:· And the same objection and
 13· instruction, Mr. Frazer.
 14· · · · · · · · MR. FRAZER:· So the -- so your -- since
 15· we're not in the same room, your -- your instruction
 16· is -- is -- is -- can you -- can you repeat it?· I'm
 17· sorry, Doug -- I'm sorry, Mr. Buncher.
 18· · · · · · · · MR. BUNCHER:· To the extent an answer
 19· to that question would reveal the substance of
 20· attorney-client communications occurring during the
 21· Executive Sessions, I would instruct you not to answer.
 22· · · · · · · · MR. FRAZER:· Okay.· To -- to my
 23· recollection, I -- I did not hear those phrases during
 24· the Executive Session that I atte -- that I -- for which
 25· I was present.


                                                              EXHIBIT D
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 25 of
                                        127




                                                                           EXHIBIT E
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 26 of
                                        127




                                                                           EXHIBIT E
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 27 of
                                        127




                                                                           EXHIBIT E
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Page 28 of
                                        127




                                                                           EXHIBIT E
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19 Page 29 of
             CONFIDENTIAL PURSUANT127    TO PROPOSED PROTECTIVE ORDER

 1                        UNITED STATES DISTRICT COURT
 2                         NORTHERN DISTRICT OF TEXAS
 3                                 DALLAS DIVISION
 4
 5
          IN RE:                                )
 6                                              )
                                                )
 7        NATIONAL RIFLE                        ) Case No.
          ASSOCIATION OF AMERICA                ) 21-30085-hdh-11
 8        AND SEA GIRT, LLC,                    )
                                                )
 9            Debtors.                          )
10
11      ******************************************************
12                 REMOTE ORAL AND VIDEOTAPED DEPOSITION OF
13                          HONORABLE PHILLIP JOURNEY
14                                 MARCH 18, 2021
15         CONFIDENTIAL PURSUANT TO PROPOSED PROTECTIVE ORDER
16      ******************************************************
17
18
19
20
21
22
23
24
25

                                                                    Page 1

                                 Veritext Legal Solutions
                                      800-336-4000
                                                                      EXHIBIT F
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19 Page 30 of
             CONFIDENTIAL PURSUANT127    TO PROPOSED PROTECTIVE ORDER

 1     employment contract to be approved?

 2           A.     They were not given a copy, no.          There were

 3     two copies at two tables, and you had to sit there and

 4     read it and turn it back in.

 5           Q.     And did you go over and open that contract and

 6     review it?

 7           A.     Yes, I read it.

 8           Q.     Was there a presentation made by someone with

 9     respect to that contract?

10           A.     Mr. Cotton was the -- is the first vice

11     president of the NRA, and as President Meadows was not

12     at the board meeting, he ran the meeting.             So there was

13     another lawyer in the room, too, by the way.             You know,

14     you'll have to ask him what he said.

15           Q.     Okay.     And was Mr. LaPierre present in that

16     session?

17           A.     No.     No.

18           Q.     This morning --

19           A.     Mr. LaPierre came for about three minutes and

20     left and did not return to the board meeting.

21           Q.     Okay.     So he attended the full board meeting

22     or this executive session?

23           A.     He was not in either of the executive

24     sessions.

25           Q.     Okay.     So Mr. Frazer testified this morning he

                                                                    Page 22

                                  Veritext Legal Solutions
                                       800-336-4000
                                                                      EXHIBIT F
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19 Page 31 of
             CONFIDENTIAL PURSUANT127    TO PROPOSED PROTECTIVE ORDER

 1     board member, would you consider the filing of a

 2     bankruptcy petition of the NRA to be the performance of

 3     a corporate activity of the NRA of such major

 4     significance as to warrant action by the full board?

 5                          MR. CICILIANO:       I would --

 6                          MR. WATSON:     Same objection.    Hold on,

 7     Dylan.     Same objection, calls for a legal conclusion.

 8     Go ahead.

 9                          MR. CICILIANO:       I would similarly object.

10     Furthermore, I would object to the extent that that's

11     informed by the legal advice of counsel of the NRA.

12                  But in your personal opinion, I guess go

13     ahead.

14           A.     If I had thought otherwise, I don't think I

15     would have filed the motion, do you, Gerrit?

16           Q.     (BY MR. PRONSKE)        Well, I'm asking you.     So

17     your answer is that you believe that the filing would be

18     a corporate activity of major significance?

19           A.     Yes.

20           Q.     Okay.     Would you consider the filing of a

21     bankruptcy petition of the NRA to qualify as a petition

22     for a judicial dissolution?

23                          MR. WATSON:     Objection, calls for a legal

24     conclusion.

25                          MR. CICILIANO:       Join.

                                                                    Page 35

                                  Veritext Legal Solutions
                                       800-336-4000
                                                                      EXHIBIT F
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19 Page 32 of
             CONFIDENTIAL PURSUANT127    TO PROPOSED PROTECTIVE ORDER

 1                        MR. PRONSKE:       Can I finish, please?      I

 2     told the judge yesterday I was going to go for four

 3     hours and that you hadn't filed an objection, and so

 4     here we are.     And if you would like to shut it down

 5     based on those facts, I'm fine going in front of the

 6     judge tomorrow morning.        What do you want to do?

 7                        MR. WATSON:      Well, what I want to do is

 8     let you get your opportunity to ask all the questions

 9     you want, but I don't want you to go and reask the same

10     stuff he's already answered.

11                        MR. PRONSKE:       I am going to ask the

12     question again, and I would like the record to be clear.

13           Q.    (BY MR. PRONSKE)        For the very first time,

14     Judge Journey, you said that the filing of the

15     bankruptcy on January 15th was a governance failure.                 I

16     would like to ask you and get an answer because that

17     question has not been answered.             What is it about the

18     January 15th bankruptcy filing that was a governance

19     failure?

20           A.    Let me be clear.        The January 15th filing was

21     not the governance failure.           It was an indication of it,

22     that the governance failure I believe occurred happened

23     at the January 7th board meeting.              And the fact that the

24     board was not informed --

25                        MR. CICILIANO:        And I am going to stop

                                                                   Page 154

                                 Veritext Legal Solutions
                                      800-336-4000
                                                                      EXHIBIT F
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19 Page 33 of
             CONFIDENTIAL PURSUANT127    TO PROPOSED PROTECTIVE ORDER

 1     you there, Judge, and caution you not to get into the

 2     attorney/client privilege, not to discuss what happened

 3     in the executive session.

 4                        MR. WATSON:      Well, Judge, you can testify

 5     as to what your understanding was without disclosing

 6     privilege.     You can answer Mr. Pronske's question, to

 7     the extent you understood -- what your understanding

 8     was --

 9                        THE WITNESS:       Thank you.

10                        MR. WATSON:      -- so we can get past this.

11                        THE WITNESS:       Thank you.

12            A.    That the governance failure that occurred --

13                        MR. CICILIANO:        It comes to privilege,

14     though.     If his understanding is informed by counsel, I

15     don't think he can.

16                        MR. WATSON:      But he's not saying that it

17     did.

18                        MR. ACOSTA:      And Dylan, you can't hide

19     the fact of what he voted on.

20                        MR. WATSON:      Right.      And he has -- he can

21     form his own opinion, Dylan, and it doesn't have to come

22     from counsel.

23                        MR. CICILIANO:        Right.      And so long as

24     it's not formed from counsel or wasn't something counsel

25     told him or what he claims counsel didn't tell him --

                                                                    Page 155

                                 Veritext Legal Solutions
                                      800-336-4000
                                                                       EXHIBIT F
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19 Page 34 of
             CONFIDENTIAL PURSUANT127    TO PROPOSED PROTECTIVE ORDER

 1                        MR. WATSON:      Right, and that's what I

 2     instructed my client to say.

 3                        MR. CICILIANO:         I understand.

 4                        MR. WATSON:      You can answer Gerrit's

 5     question.     But let's move along, guys.            It's late.

 6           A.    Oh, you're waiting on me?

 7           Q.    (BY MR. PRONSKE)        Yes.

 8           A.    I thought you guys weren't done yet.              Okay.

 9                        MR. WATSON:      No.     No, we're done.        We're

10     trying to finish up.

11                        THE WITNESS:       Okay.

12           A.    So look at the Free Beacon article.              The

13     governance failure was the failure of officers or

14     counsel or those the board is dependent on from

15     revealing the material fact the bankruptcy was in

16     process of being filed at that board meeting.

17                        MR. CICILIANO:         And again, I will move to

18     strike based on attorney/client privilege.                But go

19     ahead.

20           Q.    (BY MR. PRONSKE)        Judge Journey, were there

21     any presentations given at the January 7th executive

22     session by nonlawyers?

23           A.    No.    I believe Mr. Cotton was the one

24     addressing the board regarding those topics.

25           Q.    Was anyone addressing those topics -- and when

                                                                    Page 156

                                 Veritext Legal Solutions
                                      800-336-4000
                                                                          EXHIBIT F
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19 Page 35 of
             CONFIDENTIAL PURSUANT127    TO PROPOSED PROTECTIVE ORDER

 1     you say "those topics," what exactly are you --
 2            A.    The topics of the executive sessions.
 3     Mr. Cotton was chairing the meeting.
 4            Q.    Was there anybody giving a presentation at
 5     that executive session other than Mr. Cotton?
 6                          MR. CICILIANO:         Objection to form.
 7            A.    I'm not certain.          I am not certain on that.
 8            Q.    (BY MR. PRONSKE)          And was Mr. Cotton -- I
 9     understand Mr. Cotton is an attorney, but was he in his
10     capacity as attorney in that meeting?                    And if so, who
11     was he representing?
12            A.    No, he was not acting as counsel.                 He was
13     acting as first vice president and chairing the meeting
14     because the president wasn't there, as I explained
15     before.
16            Q.    Okay.     And what did he say during that
17     presentation?
18            A.    That is what happened in executive session
19     and --
20                          MR. CICILIANO:         Yeah, I would object
21     pursuant to attorney/client privilege and instruct you
22     not to answer.
23                          MR. WATSON:       Okay.         Yeah, I am going to
24     instruct you not to answer.
25                          MR. PRONSKE:        It's not a conversation

                                                                    Page 157

                                 Veritext Legal Solutions
                                      800-336-4000
                                                                        EXHIBIT F
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19 Page 36 of
             CONFIDENTIAL PURSUANT127    TO PROPOSED PROTECTIVE ORDER

 1     between an attorney who is acting in the capacity as an

 2     attorney and clients.        Are you saying it's just because

 3     of the presence of attorneys in that room?

 4                        MR. CICILIANO:        No, Gerrit.      I'm saying

 5     because we have a declaration, as you well know, board

 6     counsel who actually explains that they were all

 7     discussing attorney/client privilege.                So you may want

 8     to beat around it and try to snip out portions.                It's

 9     not going to happen.       I am directing him not to answer,

10     as is his counsel.

11                        MR. PRONSKE:       Who is the attorney that

12     you say was involved in that attorney/client discussion,

13     Mr. Ciciliano?

14                        MR. CICILIANO:        I believe the declaration

15     says William Davis, as well as counsel from Brewer.

16                        MR. PRONSKE:       And so just because an

17     attorney was present in the room, all discussions in

18     that executive session were privileged?

19                        MR. CICILIANO:        No.    But if you actually

20     look at the declaration, what they say is that every

21     discussion they had in there was regarding legal advice.

22     So in that instance, yes.

23                        MR. PRONSKE:       So you're saying that

24     everything that happened in the executive session

25     regarding Wayne LaPierre's employment contract on

                                                                    Page 158

                                 Veritext Legal Solutions
                                      800-336-4000
                                                                       EXHIBIT F
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19 Page 37 of
             CONFIDENTIAL PURSUANT127    TO PROPOSED PROTECTIVE ORDER

 1     January 7th was privileged.           Is that right?

 2                        MR. CICILIANO:        For this one, for what

 3     I'm seeing, absolutely.

 4                        MR. PRONSKE:       Okay.

 5           Q.     (BY MR. PRONSKE)       And Judge Journey, are you

 6     refusing to answer the question based on Mr. Ciciliano's

 7     advice?

 8                        MR. WATSON:      Well, it's my advice.      I am

 9     instructing him not to answer.

10           Q.     (BY MR. PRONSKE)       Okay.      Are you refusing to

11     answer the question based on advice of counsel?

12           A.     I am going to defer to counsel, yes.

13           Q.     When you said -- when you testified that

14     bankruptcy is not the disease but it's a symptom of the

15     disease, what is the disease?

16           A.     I think the disease and its symptoms are

17     described in great detail in the New York Attorney

18     General and the Washington, D.C. Attorney General's

19     petitions.     There are other things that I've read in

20     other cases that gave me pause also and concern.

21           Q.     When you testified that there have been,

22     quote, so many resignations from the board, why do you

23     believe there have been so many resignations from the

24     board?

25           A.     Well, it's part of the process to make the

                                                                   Page 159

                                 Veritext Legal Solutions
                                      800-336-4000
                                                                      EXHIBIT F
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21                    Entered 03/26/21 16:25:19             Page 38 of
                                        127



                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

  IN RE:                                                   §         CHAPTER 11
                                                           §
                                                           §
  NATIONAL RIFLE ASSOCIATION OF                            §         CASE NO. 21-30085-hdh11
  AMERICA and SEA GIRT LLC                                 §
                                                           §
              DEBTORS1                                     §         JOINTLY ADMINISTERED


         DECLARATION OF WILLIAM W. DAVIS IN SUPPORT OF DEBTORS’
                 EMERGENCY MOTION FOR PROTECTIVE ORDER
                 RE: NYAG’S NOTICE OF INTENTION TO TAKE THE
        DEPOSITION OF THE HONORABLE PHILLIP JOURNEY [DOCKET NO. 341]

         I, William W. Davis, pursuant to 28 U.S.C. § 1746, state:

         1.       I am a an attorney duly licensed in and am a member in good standing of the bar

 for the State of Wisconsin, maintaining offices in Middleton, Wisconsin. There are no disciplinary

 proceedings against me in any jurisdiction.

         2.       I submit this declaration in support of Debtors’s emergency motion for protective

 order with respect to the Notice of Intent to Take Oral Deposition of the Honorable Phillip Journey

 (the “Notice”) served by the People of the State of New York, by Letitia James, Attorney General

 of the State of New York (the “NYAG”) via e-mail at 12:54 p.m. on March 10, 2021, scheduling

 the deposition (the “Journey Deposition”) of the Honorable Phillip Journey (“Judge Journey”) on

 March 11, 2021 at 3:00 p.m. Except as otherwise stated, I have personal knowledge of each of the

 facts stated in this Declaration, which are true and correct. If called as a witness, I could and would

 testify as to the matters set forth herein.




        1 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt).
 The Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.


                                                                                                           Page 1
 DECLARATION OF WILLIAM J. DAVIS IN SUPPORT OF DEBTORS’ EMERGENCY MOTION FOR A PROTECTIVE ORDER
                                                                                                     EXHIBIT G
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21                Entered 03/26/21 16:25:19         Page 39 of
                                        127



         3.      Since April 2019, I have been retained as independent counsel to the Board of

 Directors of the National Rifle Association. In my capacity as Board counsel, I attend Board

 meetings and frequently participate in confidential executive sessions of the Board.

         4.      Although proceedings in executive session are not per se privileged, they are

 strictly confidential, and breaches of that confidentiality are subject to punishment under the

 disciplinary provisions of the NRA bylaws. Moreover, when the Board does receive briefings on

 ongoing litigation, conduct strategic deliberations wherein legal advice is sought, or otherwise

 engage in privileged discussions at Board meetings, these activities are typically conducted in

 executive session.

         5.      On January 7, 2021, the NRA Board of Directors met at the Omni Hotel in Dallas,

 Texas. From 10:00 a.m. to 10:52 a.m., the Board was in executive session to discuss the report of

 the Officers Compensation Committee, which included a recommendation that the Board adopt

 and approve a revised employment contract for NRA Executive Vice President Wayne LaPierre.

         6.      I was present for the duration of that executive session. During the executive

 session, copies of the proposed contract were made available to the Board, which many directors

 chose to review. In connection with this process, Board members who chose to review copies of

 the contract executed a written assurance that they would treat the document confidentially. NRA

 First Vice President Charles Cotton, who chaired the meeting, reminded the Board that because

 they were discussing proposed contract terms the discussion was confidential and privileged.

         7.      Thereafter, discussion ensued regarding the terms of the contract, wherein Board

 members sought legal advice regarding particular provisions of the contract and the potential

 addition of a forum-selection clause.




                                                                                                  Page 2
 DECLARATION OF WILLIAM J. DAVIS IN SUPPORT OF DEBTORS’ EMERGENCY MOTION FOR A PROTECTIVE ORDER
                                                                                             EXHIBIT G
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21                Entered 03/26/21 16:25:19         Page 40 of
                                        127



           8.    At 11:05 a.m., the Board again entered executive session to discuss a proposed

 resolution formalizing the appointment of a Special Litigation Committee. During this executive

 session, I provided legal advice regarding topics including director independence. A discussion

 occurred regarding ongoing litigation and the definitions of certain terms, in which I and outside

 counsel to the NRA (Brewer, Attorneys & Counselors) participated. This discussion was also

 conducted in confidence, between NRA directors and counsel, for the purpose of obtaining legal

 advice.

           9.    Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

 is true and correct and that all statements I make in this declaration are based on my personal

 knowledge unless otherwise noted herein.

 Executed on March 12, 2021                      By: /s/ William Davis
                                                 William W. Davis




                                                                                                  Page 3
 DECLARATION OF WILLIAM J. DAVIS IN SUPPORT OF DEBTORS’ EMERGENCY MOTION FOR A PROTECTIVE ORDER
                                                                                             EXHIBIT G
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21                Entered 03/26/21 16:25:19         Page 41 of
                                        127




                                   CERTIFICATE OF SERVICE

         The undersigned certifies that on the 12th day of March 2021 a true and copy of the

 foregoing was served electronically via this Court’s CM/ECF notification system.

                                                  /s/ Douglas J. Buncher
                                                 Douglas J. Buncher




                                                                                                  Page 4
 DECLARATION OF WILLIAM J. DAVIS IN SUPPORT OF DEBTORS’ EMERGENCY MOTION FOR A PROTECTIVE ORDER
                                                                                             EXHIBIT G
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19   Page 42 of
                  CONFIDENTIAL PURSUANT 127  TO PROTECTIVE ORDER

 1                     UNITED STATES BANKRUPTCY COURT
 2                        NORTHERN DISTRICT OF TEXAS
 3                                 DALLAS DIVISION
 4     IN RE:                                     )
                                                  )    Case No.
 5     NATIONAL RIFLE ASSOCIATION                 )    21-30085-hdh-11
       OF AMERICA AND SEA GIRT, LLC)
 6                                                )    Chapter 11
              Debtors.                            )
 7
 8
 9
10        ************************************************
11                      VIDEOTAPED ORAL DEPOSITION OF
12                 JOHN FRAZER IN HIS PERSONAL CAPACITY
13                                 MARCH 18, 2021
14              CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
15                              (Reported Remotely)
16        ************************************************
17
18
19
20
21
22
23
24
25

                                                                     Page 1

                                  Veritext Legal Solutions
                                       800-336-4000
                                                                         EXHIBIT H
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19   Page 43 of
                  CONFIDENTIAL PURSUANT 127  TO PROTECTIVE ORDER

 1                         MR. GARMAN (VIA ZOOM):             Objection to
 2     form.
 3                         Go ahead.
 4             A.    It's correct that he alleges that.
 5             Q.    I'm sorry.       Is his contention correct?
 6             A.    Not in my opinion.
 7             Q.    Are you aware of any violations of the
 8     bylaws in connection with board meetings that have
 9     occurred in the last year?
10                         MR. GARMAN (VIA ZOOM):             So let me --
11     let me insert -- I don't think this question calls
12     for the invasion of the attorney-client privilege.                      I
13     just -- you're general counsel.                  I want you to start
14     being careful with the answers.                  But if you -- to the
15     extent that you can answer that question, please go
16     ahead.
17             A.    No, I'm not aware of any violations of the
18     bylaws.
19             Q.    Mr. Rocky Marshall became a member of the
20     board in January 2021; isn't that correct?
21             A.    That's correct.
22             Q.    And what were the circumstances that led
23     to his becoming a board member?
24             A.    A sitting board member resigned.              And
25     under our bylaws, when a vacancy occurs on the

                                                                    Page 36

                                  Veritext Legal Solutions
                                       800-336-4000
                                                                         EXHIBIT H
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19   Page 44 of
                  CONFIDENTIAL PURSUANT 127  TO PROTECTIVE ORDER

 1     board, the -- the vacancy is filled by the -- the
 2     next runner-up who wasn't re-elect -- who wasn't
 3     elected, excuse me, elected in the -- in the most
 4     recent board election.
 5             Q.    And who was the sitting member of the
 6     board that left the board?
 7             A.    That was Duane Liptak.
 8                           THE WITNESS (VIA ZOOM):           That's
 9     L-i-p-t-a-k for the reporter.
10             Q.    And did Mr. Liptak resign shortly after
11     the filing of the bankruptcy petition?
12             A.    Yes, he did.
13             Q.    And do you have an understanding why
14     Mr. Liptak resigned?
15             A.    I do.
16             Q.    And what is your understanding?
17             A.    He stated that -- in a resignation letter
18     that he felt he wasn't able to provide proper
19     oversight.
20             Q.    And do you have an understanding of what
21     he meant by not being able to provide proper
22     oversight?
23                           MR. GARMAN (VIA ZOOM):           Objection to
24     form.
25             A.    Not having the letter in front of me, I

                                                                    Page 37

                                  Veritext Legal Solutions
                                       800-336-4000
                                                                         EXHIBIT H
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19   Page 45 of
                  CONFIDENTIAL PURSUANT 127  TO PROTECTIVE ORDER

 1            A.     Yes.     This is Mr. -- this is the letter
 2     Mr. Liptak sent me in January.
 3            Q.     Okay.     And so he states in the letter,
 4     However, in the current organizational environment,
 5     I am no longer able to effectively perform the
 6     duties of a director with what I feel is the
 7     appropriate level of oversight required.
 8                   And that is what you were referring to
 9     when you said that he had concerns about oversight
10     issues; is that right?
11            A.     Yes.
12            Q.     And did you have any conversations with
13     Mr. Liptak in or around the time that he resigned?
14            A.     I had -- I had a couple of email exchanges
15     with him.
16            Q.     And in those communication -- what were
17     the sum and substance of those communications?
18            A.     He -- prior to his resignation letter, he
19     sent a letter regarding the bankruptcy filing in
20     which he asked why -- asked essentially why it
21     hadn't been discussed with the board at the
22     January 7th meeting.
23                           MS. STERN (VIA ZOOM):           Counsel, has
24     that letter been produced?
25                           MR. GARMAN (VIA ZOOM):           I don't know.

                                                                    Page 40

                                  Veritext Legal Solutions
                                       800-336-4000
                                                                         EXHIBIT H
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19   Page 46 of
                  CONFIDENTIAL PURSUANT 127  TO PROTECTIVE ORDER

 1                          MR. GARMAN (VIA ZOOM):            Objection to
 2     form.
 3                          Go ahead.
 4             A.    I'm sorry.        Yes.
 5             Q.    And so if you identify legal risks to the
 6     NRA in its, you know, sort of corporate status,
 7     would you bring those to the legal affairs
 8     committee?
 9                          MR. GARMAN (VIA ZOOM):            Objection to
10     form.
11             A.    I would -- I would -- I would bring them
12     to the -- you know, it would depend on the specific
13     detail but obvious -- or on the specific issue.                       And
14     it might also depend on how close we are to a -- to
15     an upcoming meeting or something like that.
16                   Sometimes -- so sometimes I'll report to
17     the legal affairs committee primarily, sometimes
18     I'll report directly to the corporate officers, you
19     know, whoever -- whatever seems to be the
20     appropriate channel to get done what needs to be
21     done.
22             Q.    Prior to the NRA filing for bankruptcy in
23     mid January, did you communicate to the board any --
24     anything with respect to potential of a bankruptcy
25     filing?

                                                                    Page 65

                                  Veritext Legal Solutions
                                       800-336-4000
                                                                         EXHIBIT H
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19   Page 47 of
                  CONFIDENTIAL PURSUANT 127  TO PROTECTIVE ORDER

 1                          MR. GARMAN (VIA ZOOM):            Objection.
 2                          I need to instruct you not to answer
 3     to the extent your answer would -- would compromise
 4     attorney-client communications.
 5            A.     I'm going to decline to answer that.
 6            Q.     And just for the record, I'll just ask the
 7     same question -- let me just put it differently.
 8                   In -- I think you have testified that you
 9     learned in the fall of 2020 that the Brewer firm was
10     doing some work concerning subject matter of a
11     potential bankruptcy.
12                   Do I have that right?
13            A.     Yes.
14            Q.     And when you learned that, did you bring
15     that to the attention of the legal affairs
16     committee --
17                          MR. GARMAN (VIA ZOOM):            So --
18            Q.     -- yes or no?
19                          MR. GARMAN (VIA ZOOM):            So objection
20     to form.
21                          I'll -- I'll instruct you not to
22     answer to the extent it invades the attorney-client
23     privilege.       Answer if you can otherwise do so.
24            A.     May I confer with counsel?              It'll be
25     brief.

                                                                    Page 66

                                  Veritext Legal Solutions
                                       800-336-4000
                                                                         EXHIBIT H
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19   Page 48 of
                  CONFIDENTIAL PURSUANT 127  TO PROTECTIVE ORDER

 1     Mr. Fleming did call on an unrelated -- just called
 2     unrelated.      They didn't confer on it.             Just make sure
 3     the record is -- is clear.              But --
 4                           THE WITNESS (VIA ZOOM):          Right.
 5                           MR. GARMAN (VIA ZOOM):          But, yeah, so
 6     go ahead.
 7                           THE WITNESS (VIA ZOOM):          Okay.
 8     Thanks, Greg.
 9            A.     So my understanding of the question was
10     whether after I became aware that Chapter 11
11     reorganization was being considered as a
12     possibility, whether I discussed that with the legal
13     affairs committee.
14                   Is that a fair restatement?
15            Q.     I'll take the answer to that question.
16            A.     Okay.     The answer is no.
17            Q.     And did you discuss -- did you share that
18     information with anyone else on the board?
19            A.     Not that I recall.
20            Q.     Okay.     So you mentioned that -- the
21     difficulty of communicating with a 76-member board.
22                   Is it fair to say that's a challenge?
23            A.     Sometimes.       Sometimes it's more of an
24     individual challenge.
25            Q.     And the NRA's managed by its 76-member

                                                                    Page 68

                                  Veritext Legal Solutions
                                       800-336-4000
                                                                         EXHIBIT H
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19   Page 49 of
                  CONFIDENTIAL PURSUANT 127  TO PROTECTIVE ORDER

 1             A.    I can't -- I can't -- I don't have any
 2     other names, I'm afraid.
 3             Q.    Okay.     Mr. LaPierre testified at the 341
 4     that at some point in time, the NRA hired law firm
 5     of Morgan Lewis to do a compliance review of the
 6     organization; is that accurate?
 7                           MR. GARMAN (VIA ZOOM):           Objection to
 8     form.
 9                           Go ahead.
10             A.    Yes.
11             Q.    And when did that occur?
12             A.    In 2017.
13             Q.    What was your involvement?
14             A.    I interviewed Morgan Lewis and another
15     firm and -- trying to be helpful and not --
16     ultimately we decided to retain Morgan Lewis.
17             Q.    Who was the other firm?
18             A.    Caplin & Drysdale.
19                           THE WITNESS (VIA ZOOM):           For the
20     reporter, that's C-a-p-l-i-n and Drysdale is
21     D-r-y-s-d-a-l-e.
22             Q.    And who specifically was involved from
23     Morgan Lewis?
24             A.    Alex Reid, Alexander Reid, R-e-i-d.
25             Q.    Is he a partner?

                                                                   Page 158

                                  Veritext Legal Solutions
                                       800-336-4000
                                                                         EXHIBIT H
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19   Page 50 of
                  CONFIDENTIAL PURSUANT 127  TO PROTECTIVE ORDER

 1             A.      Yes.
 2             Q.      Were there any other partners involved?
 3             A.      I don't recall -- I don't recall meeting
 4     with any other partners for that initial project.
 5             Q.      And what was the scope of that initial
 6     project, the substantive scope?
 7                            MR. GARMAN (VIA ZOOM):          Counsel, help
 8     me out here because you're asking a general counsel
 9     about his engagement and his conversations with his
10     lawyer.        I sure feel like this is the wrong witness
11     when the -- when the predicate was someone else's
12     testimony.
13                            MS. STERN (VIA ZOOM):          Mr. LaPierre --
14     okay.        Mr. LaPierre has said that the NRA has done
15     all manner of compliance reviews and pointed to the
16     work that Morgan Lewis did, and so I would like to
17     understand what they did.              If the NRA is relying on
18     that work as demonstration of its compliance and its
19     commitment to being compliant organization, I'm
20     asking this witness --
21                            MR. GARMAN (VIA ZOOM):          Well --
22                            MS. STERN (VIA ZOOM):          -- to
23     explain --
24                            MR. GARMAN (VIA ZOOM):          We'll go a
25     little further, but --

                                                                     Page 159

                                  Veritext Legal Solutions
                                       800-336-4000
                                                                         EXHIBIT H
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19    Page 51 of
                  CONFIDENTIAL PURSUANT 127  TO PROTECTIVE ORDER

 1                         MS. STERN (VIA ZOOM):             -- what that
 2     engagement was.
 3                         MR. GARMAN (VIA ZOOM):             We'll go a
 4     little further but you're asking one of
 5     Mr. LaPierre's lawyers to talk about conversations
 6     with other of Mr. LaPierre's lawyers, and -- and the
 7     privilege is getting fairly compounded here.                      But we
 8     will -- we'll go ahead and --
 9                         THE WITNESS (VIA ZOOM):             Maybe we can
10     confer --
11                         MR. GARMAN (VIA ZOOM):             Yeah.
12                         THE WITNESS (VIA ZOOM):             -- on -- on
13     this one.
14                         MR. GARMAN (VIA ZOOM):             Yeah.
15                         MS. STERN (VIA ZOOM):             Okay.     Before
16     we -- before we go out in the hallway, I think my
17     question was -- and -- and I can try to restate the
18     question if it was too broad, but was the scope of
19     the -- of the work that was done.
20                         THE WITNESS (VIA ZOOM):             Okay.
21     Understood, but -- understood, but I would like to
22     confer.
23                         MS. STERN (VIA ZOOM):             Okay.
24                         MR. GARMAN (VIA ZOOM):             As we have all
25     day, we're trying to be constructive in -- in the

                                                                     Page 160

                                  Veritext Legal Solutions
                                       800-336-4000
                                                                         EXHIBIT H
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19   Page 52 of
                  CONFIDENTIAL PURSUANT 127  TO PROTECTIVE ORDER

 1     process.
 2                             MS. STERN (VIA ZOOM):          I appreciate
 3     that.        I just know that there's a lot of lawyers on
 4     this call that are wanting this to get moving
 5     forward.        So...
 6                             MR. GARMAN (VIA ZOOM):          Understood.
 7     You have some here, too.
 8                             THE VIDEOGRAPHER (VIA ZOOM):          Going
 9     off the record.           The time is 15:22 p.m.
10                             (Recess 3:22 p.m. to 3:28 p.m.)
11                             THE VIDEOGRAPHER (VIA ZOOM):          Going
12     back on the record.           The time is 15:28 p.m.
13             Q.      Mr. Frazer, you had the opportunity to
14     confer with your counsel, and who was that?
15             A.      It was Mr. Garman and Ms. Eisenberg.
16             Q.      Okay.
17                             MS. STERN (VIA ZOOM):          And can we have
18     the last question read back, please.
19                             THE REPORTER (VIA ZOOM):          One moment.
20                             (Record read.)
21                             MR. GARMAN (VIA ZOOM):          I'm going to
22     object here.        I'll give you a speaking objection
23     because it might be helpful, but if you don't mind so
24     I can just make an objection.
25                             But the scope of the services

                                                                   Page 161

                                   Veritext Legal Solutions
                                        800-336-4000
                                                                         EXHIBIT H
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19   Page 53 of
                  CONFIDENTIAL PURSUANT 127  TO PROTECTIVE ORDER

 1     certainly, as Mr. LaPierre testified, included
 2     compliance.       However, the scope of those services
 3     are -- and compliance is just irrevocably intertwined
 4     with your action in New York, and I'm not going to
 5     permit this lawyer of the Association to talk about
 6     his communications with other lawyers of the
 7     Association as they relate to -- to that pending
 8     action.
 9                         And so -- so Mr. Frazer will confirm
10     that compliance was within the scope of their
11     services but we won't be answering questions deeper
12     than that.
13                         MS. STERN (VIA ZOOM):             Okay.    I'm
14     going to ask a couple questions, see what -- see
15     where we go with that.
16            Q.     Mr. Frazer, what is your understanding was
17     the reason for the NRA's retention of Morgan Lewis
18     to do the compliance work that Mr. LaPierre
19     referenced at the 341?
20                         MR. GARMAN (VIA ZOOM):             I'm going to
21     object.     I don't -- I don't think you can answer that
22     without invading the attorney-client privilege.                      I'll
23     leave it to you to decide if you can.                  But I don't
24     think you can -- I don't think you could -- I don't
25     think you have independent facts other than your role

                                                                     Page 162

                                  Veritext Legal Solutions
                                       800-336-4000
                                                                         EXHIBIT H
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19   Page 54 of
                  CONFIDENTIAL PURSUANT 127  TO PROTECTIVE ORDER

 1                         My objection is do not use a speaking
 2     objection to inform him of what he may now think is a
 3     problem with the question.              Thank you.
 4                         MR. GARMAN (VIA ZOOM):             So -- so, one,
 5     I take great offense to you accusing me of bad faith.
 6     And two, at many points in today's conversation I
 7     have said I will make purely speaking objections, but
 8     I have been attempting to be helpful and candidly
 9     permit things that arguably fall within the
10     attorney-client privilege to be reformed.                  And so I
11     will simply say, I instruct the witness not to answer
12     because that invades the attorney-client privilege.
13     We'll tighten it up from here.
14                         MR. GRUBER (VIA ZOOM):             Thank you.
15                         MS. STERN (VIA ZOOM):             Sorry, I need
16     one second.
17            Q.     Mr. Frazer, do you agree with
18     Mr. LaPierre's characterization that Morgan Lewis
19     was retained to do a compliance review?
20            A.     Yes, I do.
21            Q.     And what did that compliance review
22     entail?
23                         MR. GARMAN (VIA ZOOM):             Objection;
24     that's work product and subject to the
25     attorney-client privilege.

                                                                   Page 164

                                  Veritext Legal Solutions
                                       800-336-4000
                                                                         EXHIBIT H
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19   Page 55 of
                  CONFIDENTIAL PURSUANT 127  TO PROTECTIVE ORDER

 1                          I instruct you not to answer.
 2            Q.     Did they -- did the compliance review
 3     entail interviewing any individuals at the NRA, yes
 4     or no?
 5                          MR. GARMAN (VIA ZOOM):            Go ahead.
 6            A.     Yes.
 7            Q.     Will you identify what individuals were
 8     interviewed at the NRA --
 9                          MR. GARMAN (VIA ZOOM):            No, we won't.
10            Q.     -- without describing the substance of the
11     interview?
12                          MR. GARMAN (VIA ZOOM):            No, we won't.
13            Q.     Did the compliance review that Morgan
14     Lewis firm did entail the review of any of the NRA's
15     policies or procedures?
16                          MR. GARMAN (VIA ZOOM):            Objection.
17     Mr. Frazer sits here today as a lawyer involved in
18     the internal legal --
19                          MS. STERN (VIA ZOOM):            We just -- we
20     just had a --
21                          MR. GARMAN (VIA ZOOM):            Okay.
22                          MS. STERN (VIA ZOOM):            -- conversation
23     about not doing speaking objections.
24                          MR. GARMAN (VIA ZOOM):            I'm going to
25     instruct him not to answer then.

                                                                   Page 165

                                  Veritext Legal Solutions
                                       800-336-4000
                                                                         EXHIBIT H
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19   Page 56 of
                  CONFIDENTIAL PURSUANT 127  TO PROTECTIVE ORDER

 1                         MS. STERN (VIA ZOOM):             So if you are
 2     going to instruct him not to answer on the grounds of
 3     privilege, that's fine, but I'm entitled to make a
 4     record.
 5                         MR. GARMAN (VIA ZOOM):             Work product.
 6     That's fine.       It's work product.
 7                         Don't answer.
 8            Q.     Did Morgan Lewis's compliance review
 9     result in any kind of report?
10                         MR. GARMAN (VIA ZOOM):             Objection.
11                         You can't answer that question; it's
12     privileged.
13            Q.     Were any recommendations by the -- this is
14     a yes or no question -- any recommendations by the
15     Morgan Lewis firm conveyed to senior management at
16     the NRA?
17                         MR. GARMAN (VIA ZOOM):             Objection.
18     That's privileged.         He won't answer.
19            Q.     Was the board of directors aware of the
20     engagement of Morgan Lewis to do compliance work,
21     yes or no?
22            A.     The -- we did a business case analysis and
23     sign-off sheet, so the senior board officers were
24     certainly aware.
25            Q.     And just yes or no, did the business case

                                                                   Page 166

                                  Veritext Legal Solutions
                                       800-336-4000
                                                                         EXHIBIT H
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19   Page 57 of
                  CONFIDENTIAL PURSUANT 127  TO PROTECTIVE ORDER

 1     analysis indicate that they were being engaged to do
 2     a compliance review?
 3             A.    It has been quite some time since I
 4     reviewed it.         I can't tell you exactly what it said.
 5             Q.    Did the NRA take any action with respect
 6     to its compliance policies, procedures, or practices
 7     in reliance on the Morgan Lewis engagement?
 8                           MR. GARMAN (VIA ZOOM):           Object to
 9     form.
10             A.    Yes.
11             Q.    And what were those actions?
12                           MR. GARMAN (VIA ZOOM):           Objection.
13     The content is privileged.                He won't answer that.
14             Q.    Other than Morgan Lewis, I think you have
15     identified a K&L Gates and Peter Flocos and the
16     Brewer firm as having provided advice to the NRA
17     concerning compliance and charities laws matters; is
18     that correct?
19                           MR. GARMAN (VIA ZOOM):           Objection to
20     the form of the question.
21             A.    That's correct.
22             Q.    Are there any other firms -- law firms or
23     other professional consultants that you have -- that
24     the NRA has engaged during your tenure as a general
25     counsel?

                                                                   Page 167

                                  Veritext Legal Solutions
                                       800-336-4000
                                                                         EXHIBIT H
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19    Page 58 of
                  CONFIDENTIAL PURSUANT 127  TO PROTECTIVE ORDER

 1                   Are you aware of any specific instances
 2     where a board member reported a transaction that
 3     caused the audit committee to look back at prior
 4     transactions?
 5                         MR. GARMAN (VIA ZOOM):             Objection to
 6     form.
 7             A.    Without -- without looking at the
 8     committee report, I can't point you to a -- to a
 9     specific instance.
10             Q.    And when you said that you -- that the NRA
11     began looking at these transactions as part of its
12     compliance review, was this the review that we were
13     talking about that Morgan Lewis did?
14             A.    It was --
15                         MR. GARMAN (VIA ZOOM):             Wait.      Wait.
16     Wait.
17                         I'm sorry, Counsel, would you -- would
18     you restate that.
19                         MS. STERN (VIA ZOOM):             Can the court
20     reporter read the question.
21                         (Record read.)
22                         MR. GARMAN (VIA ZOOM):             I instruct you
23     not to answer the question with regard to the work
24     done by Morgan Lewis.
25             A.    So it was part of the compliance review of

                                                                   Page 202

                                  Veritext Legal Solutions
                                       800-336-4000
                                                                         EXHIBIT H
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19 Page 59 of
                    Audio Transcription - 341127
                                              Meetings of Creditors Sea Girt, LLC - 1.22.21 Pages 1

 ·1
 ·2
 ·3
 ·4
 ·5
 ·6
 ·7· · ·-----------------------------------
 ·8· · · TRANSCRIPTION OF AUDIO FILES 1-2
 ·9· · · · · 341 MEETINGS OF CREDITORS
 10· · · · · · · ·SEA GIRT, LLC
 11· · · · BANKRUPTCY CASE NO. 21-30080
 12· · · · · · · · · · ·AND
 13· ·NATIONAL RIFLE ASSOCIATION OF AMERICA
 14· · · · BANKRUPTCY CASE NO. 21-30085
 15· · · · · · · JANUARY 22, 2021
 16· · ·-----------------------------------
 17
 18
 19
 20
 21
 22
 23
 24
 25

      888-893-3767
      www.lexitaslegal.com                                          EXHIBIT I                         YVer1f
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19 Page 60 of
                    Audio Transcription - 341127
                                              Meetings of Creditors Sea Girt, LLC - 1.22.21 Pages 49

  ·1· · · · · · · · THE U.S. TRUSTEE:· -- not answering -- I --
  ·2· · · · · · · · MR. BUNCHER:· -- if you cut him off --
  ·3· · · · · · · · THE U.S. TRUSTEE:· I hear what you are
  ·4· say --
  ·5· · · · · · · · MR. BUNCHER:· -- then we object to that.
  ·6· · · · · · · · THE U.S. TRUSTEE:· The witness is not
  ·7· answering my question.· He's answering a question that
  ·8· he wants to answer.· My question is:· What changes have
  ·9· been made since 2018 to the audit procedures?
  10· · · · · · · · MR. LaPIERRE:· Okay.· Okay.· Okay.· What we
  11· did is we immediately hired Morgan Lewis to -- to do
  12· a -- one of the top nonprofit law firms in the
  13· country -- to do a complete review of the governance of
  14· the NRA, to make sure we were in complete and total
  15· compliance with New York State non-for-profit law.
  16· And -- and -- and we began a review of the entire
  17· association, all of its employees, all of its vendors,
  18· of -- of -- of everyone.· Because if there was anything
  19· out of compliance, we wanted to self-correct.
  20· · · · · · · · And that procedure began in 2017, continued
  21· through 2018, 2019, and it -- it's still -- it -- it is
  22· still ongoing.· It -- as a result of what New York --
  23· you are talking about finances.· As a result of -- of
  24· the attack from New York State, where they weaponized
  25· the Department of Financial Services against any bank or

       888-893-3767
       www.lexitaslegal.com                                          EXHIBIT I                     YVer1f
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19 Page 61 of
                    Audio Transcription - 341127
                                              Meetings of Creditors Sea Girt, LLC - 1.22.21 Pages 61

  ·1· invoice the National Rifle Association, who, if anyone,
  ·2· reviews their monthly fee statements?
  ·3· · · · · · · · MR. LaPIERRE:· Those monthly statements
  ·4· from lawyers are -- under the NRA procedures, are
  ·5· reviewed by the general counsel's office.· The general
  ·6· counsel's office, if they have questions, they ask them,
  ·7· and then they are reviewed by the Treasurer's office,
  ·8· also, before -- before they are paid.· And that -- that
  ·9· is in compliance with the NRA bylaws and we -- we,
  10· actually, double-checked that with outside counsel --
  11· Morgan Lewis -- to make sure we were doing it
  12· appropriately.
  13· · · · · · · · THE U.S. TRUSTEE:· Okay.· The Special
  14· Litigation council -- or Committee has no role in
  15· overseeing the law firms' fees; is that right?
  16· · · · · · · · MR. FRAZER:· Ms. -- Ms. -- Ms. Lambert,
  17· it's my understanding that the SLC reviews -- does
  18· review some -- firm billing related to, you know, fees
  19· for the matters that that committee is overseeing.
  20· · · · · · · · THE U.S. TRUSTEE:· Which --
  21· · · · · · · · MR. BUNCHER:· And the -- but --
  22· · · · · · · · THE U.S. TRUSTEE:· -- professionals'
  23· firms -- firm fees does the Special Litigation coun --
  24· Committee oversee?
  25· · · · · · · · MR. LaPIERRE:· I -- I believe -- and I'm --

       888-893-3767
       www.lexitaslegal.com                                          EXHIBIT I                     YVer1f
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19 Page 62 of
                    Audio Transcription - 341127
                                              Meetings of Creditors Sea Girt, LLC - 1.22.21 Pages 138

  ·1· · · · · · · · MR. LaPIERRE:· Pardon me?
  ·2· · · · · · · · MR. VAN HORN:· I'm sorry.· Who would know?
  ·3· · · · · · · · MR. LaPIERRE:· The things that we have
  ·4· been -- you know, as I've said, we have gone through
  ·5· this complete safety check, self-correction starting --
  ·6· beginning in 2017 with Morgan Lewis and with every
  ·7· division, every vendor, everything to try to make sure
  ·8· that we were in 100 percent compliance with New York
  ·9· State non-for-profit law.· And I -- I -- I -- I -- I
  10· believe the NRA is operating in complete compliance now
  11· in regard to all of those areas and we strive for
  12· compliance.
  13· · · · · · · · I was -- I always thought we had robust
  14· controls.· If we had a fail -- if we did have any
  15· failures, that's why we did the complete safety check to
  16· be in 100 percent compliance with New York State law,
  17· which I believe we are -- we are now in compliance.
  18· Although, it's still ongoing in terms of our -- our
  19· self -- our -- our -- our safety checks.
  20· · · · · · · · MR. VAN HORN:· Okay.· Thank you,
  21· Mr. LaPierre.· With respect to credit cards or the
  22· American Express card, are there American Express cards
  23· provided to any officers or directors of the NRA,
  24· Mr. LaPierre?
  25· · · · · · · · MR. LaPIERRE:· You would have to ask the --

       888-893-3767
       www.lexitaslegal.com                                           EXHIBIT I                         YVer1f
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21 Entered 03/26/21 16:25:19 Page 63 of
                    Audio Transcription - 341127
                                              Meetings of Creditors Sea Girt, LLC - 1.22.21 Pages 202

  ·1· the Brewer Firm billed for legal work and -- and --
  ·2· that -- that -- that the Brewer Legal Firm did --
  ·3· · · · · · · · MR. DELL'AQUILA:· And did --
  ·4· · · · · · · · MR. LaPIERRE:· -- that went -- went in the
  ·5· appropriate place when it went to the trea -- or to --
  ·6· to the general counsel's office.· They would vet them.
  ·7· They would ask questions.· They went to the Treasurer's
  ·8· office and -- and -- and -- and they would ask questions
  ·9· and pay them.· And the scope of the Brewer Firm work was
  10· all signed off on and okayed separately by Morgan Lewis,
  11· who took a look at what they were doing --
  12· · · · · · · · MR. DELL'AQUILA:· Okay.
  13· · · · · · · · MR. LaPIERRE:· -- as an independent look.
  14· · · · · · · · MR. DELL'AQUILA:· Okay.· And on the tax
  15· return -- on 2015 -- the Form 990, there was a hundred
  16· thousand dollars was given to George Mason University
  17· law firm (sic) for a Second Amendment study.· And then,
  18· also, on the tax return on year 2012, there was a George
  19· Mason -- a hundred thousand dollars -- done for the
  20· Second Amendment study.· Do you -- can you -- do you
  21· know anything about that?· Why it would be $200,000 for
  22· a Second Amendment fund twice?
  23· · · · · · · · MR. LaPIERRE:· Yes.· Yes, I do.· I think
  24· I -- and I will also let John Frazer -- who knows even
  25· more about it than I do.· I believe that the George

       888-893-3767
       www.lexitaslegal.com                                           EXHIBIT I                         YVer1f
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
1-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pa
                                  127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19   Pag
                                 127




                                               EXHIBIT J
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19    Page 124 of
                                        127

  1                    UNITED STATES BANKRUPTCY COURT
  2                       NORTHERN DISTRICT OF TEXAS
  3                                DALLAS DIVISION
  4     IN RE:                                   )
                                                 )    Case No.
  5     NATIONAL RIFLE ASSOCIATION               )    21-30085-hdh-11
        OF AMERICA AND SEA GIRT, LLC)
  6                                              )    Chapter 11
               Debtors.                          )
  7
  8
  9
10        ************************************************
11                       VIDEOTAPED ORAL DEPOSITION OF
12                 NATIONAL RIFLE ASSOCIATION OF AMERICA
13             BY AND THROUGH ITS CORPORATE REPRESENTATIVE
14                                   JOHN FRAZER
15                                 MARCH 15, 2021
16                                     VOLUME 1
17       CONFIDENTIAL PURSUANT TO PROPOSED PROTECTIVE ORDER
18                              (Reported Remotely)
19        ************************************************
20
21
22
23
24
25

                                                                           Page 1

                                  Veritext Legal Solutions
                                       800-336-4000
                                                                           EXHIBIT K
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21     Entered 03/26/21 16:25:19    Page 125 of
                                        127

  1     on the 341?                                                           16:09:37

  2          Q.      Correct.                                                 16:09:38

  3          A.      Those are the people who would be there as               16:09:40

  4     counsel to the NRA or its board.           We have board              16:09:43

  5     members who are -- who happen to be lawyers, but the                  16:09:46

  6     only people who are there as counsel were those.                      16:09:48

  7          Q.      Okay.     Without getting into any specifics             16:09:50

  8     as to what was said, did yourself, Ms. Rogers or                      16:09:54

  9     Mr. Davis answer any questions with respect to                        16:10:00

 10     Mr. LaPierre's employment agreement?                                  16:10:04

 11          A.      Yes.                                                     16:10:08

 12          Q.      Which one -- which attorneys did?                        16:10:16

 13          A.      I don't recall if Ms. Rogers answered any                16:10:19

 14     questions.     I know that Mr. Davis did and I did.                   16:10:22

 15          Q.      Were there any discussions during that                   16:10:26

 16     executive session relating to Mr. LaPierre's                          16:10:40

 17     employment agreement and specifically the language                    16:10:47

 18     discussing reorganization?                                            16:10:55

 19                          MR. CICILIANO (VIA ZOOM):         I just         16:11:00

 20     object on attorney-client privilege and direct you                    16:11:00

 21     not to answer.                                                        16:11:02

 22          Q.      Are you going to follow your counsel's                   16:11:03

 23     instruction?                                                          16:11:06

 24          A.      Yes, I'm going to follow advice.                         16:11:06

 25          Q.      Mr. Frazer, at the time that                             16:11:37

                                                                         Page 302

                                    Veritext Legal Solutions
                                         800-336-4000
                                                                             EXHIBIT K
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21        Entered 03/26/21 16:25:19    Page 126 of
                                        127

  1     STATE OF TEXAS         )
  2     COUNTY OF DALLAS )
  3           I, Michelle L. Munroe, Certified Shorthand
  4     Reporter in and for the State of Texas, certify that
  5     the foregoing deposition of JOHN FRAZER was reported
  6     stenographically by me at the time and place
  7     indicated, said witness having been placed under oath
  8     by me, and that the deposition is a true record of
  9     the testimony given by the witness;
10            That the amount of time used by each party at
11      the deposition is as follows:
              Mr. Sheehan          -        4 hours, 39 minutes
12            Mr. Thompson -                42 minutes
              Mr. Mason            -        1 hour, 49 minutes
13
14            I further certify that I am neither counsel for
15      nor related to any party in this cause and am not
16      financially interested in its outcome.
17            Given under my hand on this the __________ day
18      of ____________________, 2021.
19
20
21                                 <%signature%>
                                   Michelle L. Munroe, CSR No. 6011
22                                 Commission expires 12-31-22
                                   Firm Registration #571
23                                 VERITEXT LEGAL SOLUTIONS
                                   300 Throckmorton Street, Suite 1600
24                                 Fort Worth, Texas              76102
                                   817.336.3042            telephone
25

                                                                          Page 341

                                       Veritext Legal Solutions
                                            800-336-4000
                                                                                EXHIBIT K
Case 21-30085-hdh11 Doc 417-1 Filed 03/26/21   Entered 03/26/21 16:25:19    Page 127 of
                                        127

  1     dciciliano@gtg.legal

  2                                  March 16, 2021

  3     In Re: National Rifle Association Of America And Sea Girt

  4     DEPOSITION OF: John Frazer (# 4501078)

  5           The above-referenced witness transcript is

  6     available for read and sign.

  7           Within the applicable timeframe, the witness

  8     should read the testimony to verify its accuracy. If

  9     there are any changes, the witness should note those

 10     on the attached Errata Sheet.

 11           The witness should sign and notarize the

 12     attached Errata pages and return to Veritext at

 13     errata-tx@veritext.com.

 14           According to applicable rules or agreements, if

 15     the witness fails to do so within the time allotted,

 16     a certified copy of the transcript may be used as if

 17     signed.

 18                                    Yours,

 19                                    Veritext Legal Solutions

 20

 21

 22

 23

 24

 25

                                                                      Page 342

                                  Veritext Legal Solutions
                                       800-336-4000
                                                                           EXHIBIT K
